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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 THE ASSOCIATED PRESS,

               Plaintiff,

        v.
                                                        Civil Action No. 25-0532 (TNM)
 TAYLOR BUDOWICH,
 White House Deputy Chief of Staff, et al.,

               Defendants.


                                    NOTICE OF FILING

       Defendants respectfully submit the enclosed supplemental declaration for consideration by

the Court in deciding Plaintiff’s renewed motion for a preliminary injunction (ECF No. 27).

 Dated: March 25, 2025                        Respectfully submitted,
        Washington, DC
                                              EDWARD R. MARTIN, JR., D.C. Bar #481866
                                              United States Attorney


                                              By:           /s/ Brian P. Hudak
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